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             con·cede
             /kənˈsēd/
   verb                                                                                                                                       Ex 48
      1. admit that something is true or valid after first denying or resisting it.
         "I had to concede that I'd overreacted"

            Similar:   admit       acknowledge         accept       allow    grant        recognize   own

      2. surrender or yield (something that one possesses).
         "to concede all the territory he'd won"

            Similar:   surrender       yield       give up      relinquish   cede         hand over   turn over


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